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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               CASE NO: CACE 18-cv-61716-BB

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                 Plaintiff,

vs.

RODRIGO F. SEMINARIO,
SCOTT J. ISRAEL, Sheriff of Broward
County, and SPIRIT AIRLINES,
INC.

                 Defendants.


           DEPUTY RODRIGO SEMINARO'S MOTION TO DISMISS COUNT II

          COMES NOW, the Defendant, DEPUTY RODRIGO SEMINARO, by and through his

undersigned attorneys and pursuant to Rule 12(b)of the Federal Rules of Civil Procedure and files

this Motion to Dismiss Count II of the pending complaint[DE 1] and, in support thereof, states:

          Count II attempts to state a claim for "First Amendment retaliation" against Deputy

Seminaro pursuant to § 1983. Plaintiff claims that his arrest was "in retaliation" for his

"protected speech and conduct."[DE 1, ¶ 48]. However, nowhere in the complaint does he

explain what protected "speech" or "conduct" is at issue, or how it was causally related to his

arrest.

          As this Court is aware, the Plaintiff was arrested for disorderly intoxication at the Fort

Lauderdale International Airport [DE 1, ¶ 30]. In the facts set forth in his complaint, the

Plaintiff admits that he was approached by an employee of Spirit Airlines (Kurt Williams) and

several Sheriff's deputies [DE 1, ~~( 20-27]. According to the Plaintiff, he can be seen on the
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video surveillance "speaking in the direction of" Mr. Williams[DE 1, x(26]. While he claims that

Deputy Seminaro slammed him to the ground "in retaliation for Plaintiff's speech directed at

Williams,"[DE 1, ¶ 28], the Plaintiff never explains what his "protected" speech was.

       A § 1983 claim for retaliation requires a plaintiff to establish that: (1) his speech was

constitutionally protected,(2) the defendant's retaliatory conduct adversely affected the protected

speech; and (3) there is a causal connection between the retaliatory actions and the adverse effect

on speech. See Bennett v. Hendrix, 423 F.3d 1247, 1250 (11`h Cir. 2005). Plaintiff's complaint

must contain enough facts to state a claim or retaliation that is "plausible on its face." Douglas v.

Yates, 535 F.3d 1316, 1321 (11"' Cir. 2008)(quoting Bell Atl. Corp. v. Twombly, SSO.U.S. 544

(2007)}.

       It is clear that the First Amendment does not protect all speech, and without factual detail

about what the Plaintiff said and to whom it was directed, he has not stated a claim upon which

relief can be granted (or one to which Deputy Seminaro can properly respond). As set forth by the

United States Supreme Court, "the right of free speech is not absolute at all times and under all

circumstances." Chaplinskyv. State ofNew Hampshire, 315 U.S. 568, 571 (1942). Indeed, some

categories of speech have never been thought to raise any constitutional problem, including

speech that is lewd and obscene, profane, libelous or insulting or fighting words. Id. at 572. Such

utterances are not deemed essential to the exposition of ideas, and are of such "slight social value"

that any benefit to be derived from such speech is easily outweighed by the social interest in order

and morality. Id.

       Here, the Plaintiff has not suggested that he was engaged in "public expression of religion,

politics or grievances, or that his arrest was in retaliation for any of these practices." Thus, "even

assuming that his arrest was wrongful - in other words, effectuated without probable cause or
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with excessive force - he is not protected by the First Amendment." See, generally, Ramos v. City

of Miami, 115 F. Supp. 3d 1372 (S.D. Fla. 2015)(discussing pleading First Amendment

retaliation claim in the context offreedom of association). Where the Plaintiff does not address the

elements with specific allegations, but only proffers a legal conclusion, dismissal of the complaint

is proper. Id. at 1374. Accordingly, the Plaintiff should be compelled to provide factual detail

about his purportedly protected speech such that it properly states a claim.

       Additionally, the Plaintiff has failed to properly show that his speech, even assuming it to

be protected, was a substantial or motivating factor in the decision to arrest him in this case. In

doing so, a plaintiff must "do more than make `general attacks' upon a defendant°s motivations

and must articulate `affirmative evidence' of retaliation to prove the requisite motive." Colquitt v.

Anderson, 2008 WL 4097715 (M.D. Fla. Sept. 2, 2008)(quoting Crawford-El v. Britton, 523

U.S. 574, 600 (1998)).

        WHEREFORE, the Defendant, RODRIGO SEMINARO, respectfully requests that this

Court dismiss Count II of the Complaint based on the Plaintiff's failure to properly assert a claim

for First Amendment retaliation under § 1983, and for such other and further relief as this Court

deems proper.


                    CERTIFICATE OF GOOD FAITH CONFERENCE

       I hereby certify that counsel for the movant has conferred with all parties or
non-parties who may be affected by the relief sought in this motion in a good faith effort
to resolve the issues but has been unable to do so or has made reasonable efforts to confer
with all parties or non-parties who may be affected by the relief sought in the motion, but
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has been unable to do so.

Dated: September 25, 2018               Respectfully submitted,


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                                 Certificate of Service

       I HEREBY CERTIFY that on the 25`h day of September, 2018, I electronically
filed the foregoing document with the Clerk of the Court using CM/ECF. I also certify
that the foregoing document is being served this day on ali counsel of records or pro se
parties identified on the attached Service List in the manner specified, either via
transmission of Notice of Electronic Filing generated by CM/ECF or in some other
authorized manner for those counsel or parties who are not authorized to receive
electronically Notices of Electronic Filing.



                                        KENNETH J. MILLER
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